36 F.3d 1092
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Garnell Steven HILL, Sr., Plaintiff Appellant,v.Gary HORNBAKER, Assistant Warden;  John Boteler, SecurityChief;  Jessie James, Captain, 7 to 3 shift,Defendants Appellees.
    No. 94-6125.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 17, 1994Decided:  September 23, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Walter E. Black, Jr., Chief District Judge.  (CA-93-2236)
      Garnell Steven Hill, Sr., Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Richard M. Kastendieck, Office of the Attorney General of Maryland, Baltimore, Maryland, for Appellees.
      D.Md.
      AFFIRMED.
      Before MURNAGHAN, NIEMEYER, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Hill v. Hornbaker, No. CA-93-2236 (D. Md. Dec. 30, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    